         Case 2:21-cv-03208-JHS Document 18 Filed 11/26/21 Page 1 of 7


                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                            PHILADELPHIA DIVISION

                                                       )
 LEDCOMM LLC,                                          )
                                                       )
                Plaintiff,                             )
                                                       )
        v.                                             ) Civil Action No. 2:21-cv-3208-JHS
                                                       )
 WESTINGHOUSE LIGHTING CORPORATION,                    ) JURY TRIAL DEMANDED
          Defendant.                                   )



                             REPORT OF RULE 26(f) MEETING

       Pursuant to Federal Rule of Civil Procedure 26(f) and the Court’s November 9, 2021 order

(Dkt. No. 15), Plaintiff LedComm LLC (“LedComm” or “Plaintiff”) and Defendant Westinghouse

Lighting Corporation (“Westinghouse” or “Defendant”) conferred on November 26, 2021, and

hereby submit the following report of their meeting for the Court’s consideration:


       1. Discussion of Claims, Defenses and Relevant Issues

       This is a patent infringement case, in which LedComm alleges that Westinghouse has

infringed seven LedComm patents relating to LED technology. Specifically, LedComm alleges

that Westinghouse has directly infringed LedComm’s U.S. Patent Nos. 6,803,606, 6,982,522,
7,012,277, 7,154,125, 7,161,190, 7,301,176, and 7,490,959 (collectively, the “Asserted Patents”)

by making, using, importing, selling, and/or offering to sell one or more of its commercial

products, including, inter alia, Westinghouse 7.5-Watt Equivalent S11 LED Light Bulb

(4511300), Westinghouse 40-Watt Eq Red Omni A19 LED Party Light Bulb (0315300),

Westinghouse 60-Watt Equivalent A19 LED Grow Light Bulb (51810), Westinghouse 60W

Equivalent Bright White T7 Medium Base LED Light Bulb (3319900), Westinghouse 75-Watt

White Integrated LED Flush Mount (6401100), Westinghouse 85-Watt Equivalent Bright White

R40 Dimmable LED Light Bulb (5306400), Westinghouse 150-Watt Equivalent Omni A21 LED



                                                1
         Case 2:21-cv-03208-JHS Document 18 Filed 11/26/21 Page 2 of 7



Light Bulb Bright White (5159000), Westinghouse 200-Watt Equivalent Omni A23 LED Light

Bulb Bright White (5160000), Westinghouse 65-Watt Equivalent BR30 Flood LED Grow Light

Bulb (5182000), Westinghouse 60W Equivalent Bright White Omni A19 Dimmable LED Light

Bulb (5343900), Westinghouse 60W Equivalent Soft White A19 Omni LED Light Bulb

(4369700), Westinghouse 15 Watt (100 Watt Equivalent) PAR38 Flood Outdoor Green LED Light

Bulb (3314900), Westinghouse 40-Watt Equivalent Omni A19 Green LED Party Bulb with

Medium Base (0315200), Westinghouse 6 Watt (40 Watt Equivalent) Blue Omni A19 LED Party

Bulb (0315400), Westinghouse 100W Equivalent Red PAR38 LED Weatherproof Flood Light

Bulb (3314700), Westinghouse SunTube 18 Watt Broad Spectrum LED Indoor Horticultural

Fixture (6365800) (collectively, the “Accused Products”) that incorporate LedComm’s patented

inventions.

       Westinghouse filed its answer on November 1, 2021. See Dkt. No. 14. Westinghouse

denies that it infringes any valid patent claim asserted against it and asserts six affirmative

defenses, including failure to state a claim, non-infringement, invalidity, prosecution history

estoppel, estoppel, and limitation on damages and costs.

       The parties identify the following principal issues in this action:

              •   the number of claims LedComm should be permitted to assert in the action;

              •   the proper construction of any disputed terms in the asserted claims of the Asserted

                  Patents;

              •   whether Westinghouse has infringed the Asserted Patents directly, literally and/or

                  under the doctrine of equivalents;

              •   whether the Asserted Patents are valid and enforceable;

              •   the amount of damages and prejudgment and postjudgment interest, if any,

                  recoverable by LedComm if Westinghouse is found to have infringed any valid

                  claims of the Asserted Patents;

              •   whether LedComm or Westinghouse is entitled to attorneys’ fees under 35 U.S.C.

                  § 285; and

              •   any other matters the parties may raise in this action.

                                                    2
            Case 2:21-cv-03208-JHS Document 18 Filed 11/26/21 Page 3 of 7




        LedComm anticipates discovery concerning the foregoing issues, including requiring

documents and information relating to the design of the Accused Products, Westinghouse’s sales

of the Accused Products and related financial information, Westinghouse’s s knowledge of the

Asserted Patents, and documents and information from third-party resellers, distributors, dealers,

retailers, wholesalers, or other entities that ship, fulfill orders for, sell, or offer for sale the Accused

Products.

        Westinghouse anticipates discovery concerning the foregoing issues, including requiring

at least documents and information relating to ownership of the Asserted Patents, licensing of the

Asserted Patents, marking of the Asserted Patents, licensing and licensors of the Asserted Patents,

prosecution of the Asserted Patents and related patents and applications, prior litigation and

settlements concerning the Asserted Patents, prior use of the inventions claimed in the Asserted

Patents, prior art to the Asserted Patents, and any attempts to commercialize the Asserted Patents.

        LedComm anticipates that it may file one or more motions for summary judgment on issues

including infringement, validity, and/or defenses raised by Westinghouse.                     LedComm’s

investigation in this action is ongoing, and LedComm reserves the right to move for summary

judgment on different or additional issues, in view of additional information obtained through

discovery, Court rulings in this matter, or other issues that may arise as this action progresses.

Further, while LedComm does not intend to file any motions seeking to add new parties at this

time, as information becomes known to LedComm through discovery, LedComm may seek to add

new parties, including possible Westinghouse affiliates or related companies, or other entities

involved in the manufacture, use, importation, sale, and/or offer for sale of the Accused Products,

such as entities identified by Westinghouse as having been involved in one or more of the

foregoing.

        Westinghouse anticipates that it may file one or more summary judgment motions on issues

including non-infringement, invalidity, unenforceability, and/or damages.                 Westinghouse’s

investigation in this action is ongoing, and Westinghouse reserves the right to move for summary



                                                     3
             Case 2:21-cv-03208-JHS Document 18 Filed 11/26/21 Page 4 of 7



judgment on different or additional issues, in view of additional information obtained through

discovery, Court rulings in this matter, or other issues that may arise as this action progresses.

       2. Informal Disclosures

       The parties exchanged Initial Disclosure in accordance with Rule 26(a) and the Court’s

November 9, 2021 order (Dkt. No. 15).

       3. Formal Discovery

                 A.     Discovery Phases

       The Parties propose that discovery should be phased to have a first phase for fact

discovery (which includes claim construction discovery) and a second phase for expert

discovery. As of the date of this Report, LedComm has served on Westinghouse a first set of

interrogatories and a first set of requests for production of documents. Westinghouse has

produced sales information regarding the Accused Products. No other formal discovery has

occurred to date.

                 B.     Proposed Agreements or Modifications of the Discovery Rules

       i.        Fact and expert discovery will be in accordance with the Federal Rules of Civil

Procedure, the Local Rules, and the Court’s Rules. The parties do not currently propose any

changes to the discovery limitations imposed by these rules, including the Court’s Rule that the

discovery deadline should normally be no more than 120-150 days from the date of the Rule 16

Conference. In the event that additional discovery is needed, the parties will attempt to address

the issues by agreement and/or seek the Court’s approval.

       ii.       The parties do not believe that this case poses any unique issues relating to the

disclosure or discovery of Electronically Stored Information (“ESI”). The parties agree to come

up with an agreement regarding discovery of ESI, including emails, and for the logging of

privileged communications, which agreement will be submitted to the Court for approval.

       iii.      Pursuant to Federal Rule of Evidence 502(d) and Fed. R. Civ. P. 26(b)(5), the

parties agree that the inadvertent production of privileged or attorney work product documents

does not constitute a waiver of the privilege or immunity. When a producing party gives notice

that certain inadvertently produced material is subject to a claim of privilege or other protection,

                                                  4
             Case 2:21-cv-03208-JHS Document 18 Filed 11/26/21 Page 5 of 7



the obligations of the receiving party set forth under Fed. R. Civ. P. 26(b)(5)(B) shall apply. The

parties agree that privilege logs need not list privileged communications with litigation counsel

that post-date the filing of the complaint.

        iv.      The parties agree that, pursuant to Fed. R. Civ. P 26(b)(4)(b), no draft expert

reports, notes, outlines, or disclosures leading up to a final expert report or declaration are

discoverable in whatever form. In addition, where a party retains independent consultants or

experts to further technical or consulting services or to give testimony with respect to the subject

matter of this action, the following materials will be deemed to be privileged materials or materials

otherwise protected from production based on a claim of privilege (attorney-client, work product,

or other privilege) and thus not discoverable:

        (a) Correspondence between such independent consultants or experts and a party or its

outside counsel;

        (b) Drafts of expert reports, declarations, or any other materials drafted by or for such

independent consultants or experts regarding the subject matter of this action; and

        (c) Communications between such independent consultants and experts and a party or its

outside counsel that are related to drafts and/or revisions of expert reports, declarations, or other

materials drafted by or for such independent consultants or experts, or that are related to the

preparation to testify at a hearing, trial, or deposition in this action.

        Such protections provided herein are to be construed in addition to and shall not diminish

the protections provided in Fed. R. Civ. P. 26(b)(3)-26(b)(4). Nothing herein, however, limits the

rights of the parties to examine an expert or consultant concerning the information he or she relied

upon in forming his or her opinions, which information shall not be privileged.

        v.       The parties agree that a protective order will be needed in this case to protect

confidential and sensitive technical and business information. The parties plan to jointly file a

proposed protective order no later than 3 weeks after the Rule 16 Conference.

        vi.      Pursuant to Fed. R. Civ. P. 5(b)(2)(D), the parties agree to receive by electronic

transmission all items that are required to be served under Fed. R. Civ. P. 5(a) and that are not



                                                    5
          Case 2:21-cv-03208-JHS Document 18 Filed 11/26/21 Page 6 of 7



filed with the Court. Such electronic transmission will constitute service and any right to service

by USPS mail is waived.

        4. Electronic Discovery

        The parties have discussed electronic discovery and intend to propose an electronic

discovery order commensurate with the issues in this case either prior to or at the Rule 16

Conference. The parties agree that the default standards in accordance with the Court’s Order

Governing Electronic Discovery shall apply until the parties reach an agreement on how to

conduct electronic discovery.

        5. Expert Witness Disclosures

        The parties agree that expert discovery, if any, should be keyed off the close of fact

discovery, as follows:

            •   opening expert reports on issues for which the parties bear the burden of proof: 4

                weeks after the close of fact discovery;

            •   rebuttal expert reports: 4 weeks after opening expert reports;

            •   deadline to conduct expert deposition: 3 weeks after rebuttal expert reports

        6. Early Settlement or Resolution

        The parties have had preliminary settlement discussions, but no resolution has been reached

at this time. The parties anticipate that they will continue to be in contact and discuss the potential

for settlement from time to time. The parties also propose, pursuant to Local Rule 53.3, to engage

in further settlement discussions and consider, for example, formal mediation.

        7. Trial

        LedComm has requested a jury trial, and Westinghouse intends to do so as well. Given

that this case involves allegations of infringement of seven patents, the parties estimate that the

trial will require 6-8 days depending on the number of patent claims asserted by LedComm at trial

and the issues to be tried, including infringement, validity, and damages. Westinghouse alleges

that the number of claims LedComm is permitted to assert in this action will correlate to the time

necessary for trial.



                                                  6
         Case 2:21-cv-03208-JHS Document 18 Filed 11/26/21 Page 7 of 7



       The parties do not agree to a referral of the case to U.S. Magistrate Judge Carol Sandra

Moore Wells for trial.

       8. Other Matters

       The parties agree to submit a joint scheduling order no later than 2 weeks after the Rule 16

Conference.


Respectfully submitted,

 Dated: November 26, 2021                              Dated: November 26, 2021

 /s/ Richard C. Weinblatt                              /s/ John D. Simmons

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